905 F.2d 1531Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Don SALYER, Plaintiff-Appellant,v.Darrell McMURRAY, Defendant-Appellee.
    No. 89-1570.
    United States Court of Appeals, Fourth Circuit.
    Submitted March 22, 1990.Decided May 21, 1990.
    
      Appeal from the United States District Court for the Western District of Virginia, at Big Stone Gap.  Glen M. Williams, Senior District Judge.  (C/A No. 88-34-B)
      Don Salyer, appellant pro se.
      Henry Smith Keuling-Stout, Big Stone Gap, Va., for appellee.
      W.D.Va.
      AFFIRMED.
      Before K.K. HALL and PHILLIPS, Circuit Judges, and BUTZNER, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Don Salyer appeals from the district court's order denying relief under 42 U.S.C. Sec. 1983.  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Salyer v. McMurray, C/A No. 88-34-B (W.D.Va. Sept. 28, 1989).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      AFFIRMED.
    
    